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 12 Loretta George
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 14
                               UNITED STATES DISTRICT COURT
 15
                              CENTRAL DISTRICT OF CALIFORNIA
 16                                  EASTERN DIVISION
 17
 18
 19 Loretta George,                           Case No.: 5:15-cv-01570-VAP-DTB
 20
                       Plaintiff,             STIPULATION FOR DISMISSAL
 21                                           WITH PREJUDICE
 22         vs.

 23 Kohl’s Department Stores, Inc.,
 24
                       Defendant.
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 27
 28

      5:15-cv-01570-VAP-DTB                                 STIPULATION FOR DISMISSAL
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  1                                STIPULATION OF DISMISSAL
  2
             The parties to the above-entitled action, pursuant to FRCP 41(a)(1)(ii), hereby
  3
      stipulate that the above-captioned action is hereby dismissed against Defendant,
  4
      Kohl’s Department Stores, Inc, with prejudice and with each party to bear its own
  5
      attorneys’ fees and costs.
  6
  7
  8
       Plaintiff                              Defendant
  9
       _/s/ Trinette G. Kent____              __/s/ Catherine D. Lee_____
 10
       TRINETTE G. KENT                       CATHERINE D. LEE
 11    Attorney for Plaintiff                 Attorney for Defendant
 12
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 14
      DATED: May 24, 2016
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      5:15-cv-01570-VAP-DTB                   -2-                   STIPULATION FOR DISMISSAL
Case 5:15-cv-01570-VAP-DTB Document 24 Filed 05/24/16 Page 3 of 4 Page ID #:93



  1                                  CERTIFICATE OF SERVICE
  2
             I, the undersigned, certify and declare that I am over the age of 18 years, and
  3
  4 not a party to the above-entitled cause. On May 24, 2016, I served a true copy of
  5 foregoing document(s): STIPULATION AND [PROPOSED] ORDER RE:
  6
    STIPULATION FOR DISMISSAL WITH PREJUDICE.
  7
  8
    BY ELECTRONIC FILING: I hereby                Attorney for Defendant Kohl’s
  9 certify that on May 24, 2016, a copy of       Department Stores, Inc.
 10 the foregoing document was filed
    electronically. Notice of this filing will be
 11 sent by operation of the Court's electronic
 12 filing system to all parties indicated on
    the electronic filing receipt. All other
 13 parties will be served by regular U.S.
 14 Mail. Parties may access this filing
    through the Court's electronic filing
 15 system.
 16
 17
             I am readily familiar with the firm's practice of collection and processing
 18
 19 correspondence for mailing. Under that practice it would be deposited with the U.S.
 20 Postal Service on that same day with postage thereon fully prepaid in the ordinary
 21
    course of business. I am aware that on motion of the party served, service is presumed
 22
 23 invalid if postal cancellation date or postage meter date is more than one day after the
 24 date of deposit for mailing in affidavit.
 25
          I hereby certify that I am employed in the office of a member of the Bar of this
 26
 27 Court at whose direction the service was made.
 28
      5:15-cv-01570-VAP-DTB                    -3-                   STIPULATION FOR DISMISSAL
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  1          Executed on May 24, 2016
  2
  3                                        By: /s/ Trinette G. Kent
  4                                        Trinette G. Kent, Esq.
                                           Lemberg Law, LLC
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      5:15-cv-01570-VAP-DTB              -4-                STIPULATION FOR DISMISSAL
